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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION


UNITED STATES OF AMERICA

V.                                                               NO.

SLATER WASHBURN SWARTWOOD,
SR.



                                       FACTUAL RESUME


        In support of Slater Washburn Swartwood, Sr.'s plea of guilty to the offense(s) in

Count(s) One of the Information, Swartwood, the defendant. Max Stem, the defendant's

attorney, and the United States ofAmerica (the government) stipulate and agree to the

following:

                               ELEMENTS OF THE OFFENSE

        To prove the offense alleged in Count One ofthe Information charging a violation

of 18 U.S.C. § 371, that is, conspiracy to commit money laundering in violation of 18

U.S.C. § 1956(a)(l)(B)(i), the government must prove each of thefollowing elements

beyond a reasonable doubt: ^

        First.          That the defendant and at least one other person made an agreement
                         to commit the crime of money laundering in violation of 18 U.S.C. §
                         1956(a)(l)(B)(i), as charged in the Information;

         Second:         That the defendant Icnew the unlawful puipose of the agreement and
                         joined in it willfully, that is, with the intent to further the unlawful
                         purpose; and



' Fifth Circuit Pattern JuryInstruction 2.15A (5th Cir. 2015).

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       Third:          That one of the conspirators during the existence of the conspiracy
                       knowingly committed at least one of the overt acts described in the
                       Information, in order to accomplish some object or purpose of the
                       conspiracy.


                                     STIPULATED FACTS

       1.       The defendant agrees that the following facts are true and correct and that

his testimony at any trial would reflect the same.

       2.       From in or around 2011 to in or around 2017, in the Dallas Division of the

Northern District of Texas and elsewhere, the defendant, Swaitwood, Persons A and B,

and others known and unknown, unlawfully, willfully, and knowingly did combine,

conspire, confederate and agree together and with each other to violate Section

1956(a)(1) of Title 18, United States Code.

       3.       Swaitwood, at all relevant times, loiew the unlawful purpose of the

agreement andjoined in it willfully, that is, with the intent to further the unlawful

purpose.


       4.       Swaitwood started working with Person A as a real estate adviser in

approximately 1985. In approximately 2010, he began doing real estate consulting for

Company A, at first as an employee and later as a consultant.

       5.       Company A, which was owned and controlled by Person A, sold cameras

and related services for school buses. Company A entered into various contracts and a

licensing agreement with a Texas state agency acting through its superintendent. Person

B. Under these contracts and the licensing agreement, the state agency purchased




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millions of dollars of camera equipment from Company A. All of these contracts,

agreements, and purchase orders were entered into byPerson A and Person B on behalf
of their respective organizations. The ongoing business relationship between Company A

and the state agency generated millions of dollars inrevenue for Company A, a portion of

which Person A illegally kicked back to Person B in return for further agreements and
camera-equipment orders.

       6.     Generally, Person A did notpayPerson B directly. Instead, to disguise the

source andillegal purpose of the payments, Person A funneled thebribe and kickback

payments to Person B through various pass-through companies owned or controlled by

Swartwood.

       7.     More specifically, between 2011 and 2016, Person A provided Swartwood

with approximately $2 million to funnel to Person B through Swartwood's companies.

Elf Investments, Cambridge Realty Group, LLC (Cambridge), and Anrock Realty

Seivices, LLC (Anrock). After Swartwood was paid, he would almost immediately

transfer the funds to Person B at Person A's direction.

       8.     Swartwood, per Person B' s instruction, would pay the money to Person B's

personal bank account or to various shell companies owned or controlled by Person B,

which are Icnown to the United States Attorney.

       9.     To further conceal the illegal bribe and kickback payments, the

coconwspirators created numerous versions of a fake loan. All parties understood that the

loans in their various iterations were fake and that Person B would never be required to

pay Person A back and lacked even the financial capabilityto do so. In fact, when the


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media began scrutinizing the relationship between Company A and the state agency, the

coconspirators discussed having Person B begin to make payments on the loan to make it

appear legitimate, after which Person A would "recycle" the money back to Person B.

The coconspirators also spent a significant amount of time discussing how to get their

stories straight so they could explain the paper trail left by the multi-year bribery scheme

they had engaged in.

       10.    Swaitwood also knew that Person A was concealing bribe and kickback

payments to Person B by funneling payments to Person B through a law firm.

       11.    Swaitwood agrees and stipulates that, in furtherance of the money

laundering conspiracy, and as set forth in Paragraph 11 of the Information, that, on or

about April 15, 2016, Person A caused approximately $200,000 to be wired from a bank

account of Company A to a banlc account of Anrock. That same day, Swaitwood, at

PersonA's direction, caused approximately $200,000 to be transferred from the bank

account of Anrock to a bank account ending in 7802, a shell company controlled by

Person B, which is known to the United States Attorney. To further conceal the trae

purpose of thepayment, the coconspirators characterized the payment as related to

"Consulting."

       12.      The defendant agrees that the defendant committed all the essential

elements of the offense(s). This factual resume is not intended to be a complete

accounting of all the facts andevents related to the offense charged in this case. The

limited pmpose of this statement offacts is to demonstrate that a factual basis exists to

support the defendant's guilty plea to Count(s) One ofthe Information.

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